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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

MURRAY DINES, d/b/a                         )
Terpene Distribution,                       )
                                            )
                      Plaintiff,            )
                                            )
Vs.                                         )
                                            )
LAURA KELLY, in her official capacity       )         Case No.: 2:22-CV-02248-KHV-GEB
as Governor of the State of Kansas,         )
                                            )
and,                                        )
                                            )
DEREK SCHMIDT, in his official capacity )
as Attorney General of the State of Kansas, )
                                            )
                      Defendants.           )

                 STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       COMES NOW, Plaintiff Murray Dines and Defendants Laura Kelly, in her official

capacity as Governor of the State of Kansas, and Derek Schmidt, in his official capacity as

Attorney General of the State of Kansas, by and through the undersigned counsel, to stipulate to

dismissal without prejudice of all claims remaining in this case, which each party to bear their own

costs, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

       IT IS SO STIPULATED.

Sloan, Eisenbarth, Glassman, McEntire                        Office of Attorney General
& Jarboe, L.L.C.                                             Derek Schmidt

s/ Tai J. Vokins                                             s/ Arthur S. Chalmers
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